           Case 2:09-cr-00244-WBS Document 95 Filed 01/13/11 Page 1 of 2


1    DINA L. SANTOS, Bar #204200
     Attorney at Law
2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     FRANCISCO RAMIREZ-SANCHEZ
6
7
                        IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11
     UNITED STATES OF AMERICA,          )   No. 2:09-cr-00244-MCE
12                                      )
                     Plaintiff,         )
13                                      )   (AMENDED) STIPULATION AND ORDER
          v.                            )   VACATING DATE, RESETTING BRIEFING
14                                      )   SCHEDULE, CONTINUING CASE, AND
     FRANCISCO RAMIREZ-SANCHEZ,         )   EXCLUDING TIME
15   MIGUEL CORONA LOZANO,              )
     ADRIAN NEGRETE ANDRADE,            )
16   ANTONIO RAMIREZ-SANCHEZ,           )   Date: March 3, 2010
     JORGE CORONA RAMIREZ               )   Time: 9:00 a.m.
17                  Defendants.             Judge: Honorable Judge England
18   _______________________________
19        IT IS HEREBY STIPULATED by and between Assistant United States Attorney

20   Todd Leras, Counsel for Plaintiff, and Attorney Dina L. Santos, Counsel for

21   Defendant Francisco Ramirez-Sanchez; Attorney Gilbert Roque for Miguel Corona

22   Lozano; Attorney Fred Dawson for Adrian Negrete Andrade; Attorney Charles

23   Bauer for Antonio Ramirez-Sanchez; Attorney Erin Radekin for Jorge Corona

24   Ramirez, that the status conference scheduled for January 6, 2011, be vacated

25   and the matter be continued to this Court's criminal calendar on March 3,

26   2010, at 9:00 a.m, for judgement and sentencing.

27        This continuance is a joint request to allow the prosecutor to further

28   assess the 5k reduction.
           Case 2:09-cr-00244-WBS Document 95 Filed 01/13/11 Page 2 of 2


1         The Court is advised that all counsel have conferred about this request,

2    that they have agreed to the March 3, 2010 date, and that all counsel have

3    authorized Ms. Santos to sign this stipulation on their    behalf.

4         IT IS SO STIPULATED.

5    Dated: Jan. 4, 2011                     /S/ Dina L. Santos
                                            DINA L. SANTOS
6                                           Attorney for Defendant
                                            FRANCISCO RAMIREZ-SANCHEZ
7
     Dated: Jan. 4, 2011                     /S/ Todd Leras
8                                           TODD LERAS
                                            Assistant United States Attorney
9                                           Attorney for Plaintiff

10   Dated: Jan. 4, 2011                     /S/ Gilbert Roque
                                            GILBERT ROQUE
11                                          Assistant United States Attorney
                                            Attorney for Defendant
12                                          MIGUEL CORONA LOZANO

13   Dated: Jan. 4, 2011                     /S/ Fred Dawson
                                            FRED DAWSON
14                                          Attorney for Defendant
                                            ADRIAN NEGRETE ANDRADE
15
     Dated: Jan. 4, 2011                     /S/ Charles Bauer
16                                          CHARLES BAUER
                                            Attorney for Defendant
17                                          ANTONIO RAMIREZ-SANCHEZ

18   Dated: Jan. 4, 2011                     /S/ Erin Radekin
                                            ERIN RADEKIN
19                                          Attorney for Defendant
                                            JORGE CORONA-RAMIREZ
20
                                        O R D E R
21
          IT IS SO ORDERED.
22
23   Dated: January 13, 2011

24
                                          _____________________________
25                                        MORRISON C. ENGLAND, JR.
26                                        UNITED STATES DISTRICT JUDGE

27
28


                                            2
